10

1]

12

[3

14

La

16

17

18

19

20

Case 4:22-cr-O6040-MKD ECF No. 24 _ filed 01/26/23 PagelD.81 Page 1of3

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA, No. 4:22-CR-06040-MKD-1
Plaintiff, DEFENDANT’S SPEEDY TRIAL
WAIVER AND STATEMENT OF
V. REASONS IN SUPPORT OF THE
MOTION TO CONTINUE TRIAL
ANDREI STEPHANOVICH DATE
BORGHERIU,
Defendant.

 

 

 

 

My attorney has advised me of my right under the Speedy Trial Act, 18
U.S.C. § 3161, to go to trial within seventy (70) days after the Indictment was filed
or my arrest, whichever was later. My attorney has also advised me that a
continuance of the trial is needed and we have discussed the reasons for the
continuance. A motion to continue the trial date has been or will be filed. I ask this
Court to grant the motion and reset the trial from its current date of February 13,
2023, to a date no later than October 9, 2023, for the following reasons pursuant to

18 U.S.C. § 3161:

DEFENDANT’S SPEEDY TRIAL WAIVER AND STATEMENT OF REASONS
IN SUPPORT OF THE MOTION TO CONTINUE TRIAL DATE - 1

 
10

11

12

13

14

LS

16

17

18

19

20

 

 

Case 4:22-cr-O6040-MKD ECF No. 24 _ filed 01/26/23 PagelD.82 Page 2 of 3

Nadu UN ad do Vave oi hy rerdid. ON Is } Me ba

 

| | }
Drepare prt matum om! To be pea d J f; r toned.
\ \ |

 

 

 

 

 

 

I understand that if the Court grants the motion to continue, all time between
the date the motion was filed and the new trial date will be excluded from the

speedy trial calculations pursuant to the Speedy Trial Act.

I declare under penalty of perjury that the pu. and correct.

Defendant

Date. O/- 26- 2023

 

I have read this form and discussed its tT with my client.

py

Counsel for Défendant

Date: Vb Ganeey 10>

 

DEFENDANT’S SPEEDY TRIAL WAIVER AND STATEMENT OF REASONS
IN SUPPORT OF THE MOTION TO CONTINUE TRIAL DATE - 2

 
10

11

12

13

14

15

16

17

18

19

20

 

 

Case 4:22-cr-06040-MKD. ECF No. 24 filed 01/26/23 PagelD.83 Page 3 of 3

I have translated this form into a language in which the Defendant is
conversant. If questions have arisen, I have notified the Defendant’s counsel of the

questions and have not offered any advice or personal opinions.

LA 2 __

Interpreter

 

Date: January 26, 2023

 

DEFENDANT’S SPEEDY TRIAL WAIVER AND STATEMENT OF REASONS
IN SUPPORT OF THE MOTION TO CONTINUE TRIAL DATE - 3

 
